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IN THE
UNITED STATES COURT OF APPEALS
FOR THE SEVENTH CIRCUIT

No. 23-2366
K.C., et al.,
Plaintiffs/A ppellees,

Vv.

INDIVIDUAL MEMBERS OF THE MEDICAL LICENSING
BOARD OR INDIANA, e¢ al.

Defendants/Appellants

On Appeal from the United States District Court for the
Southern District of Indiana, Indianapolis Division
No. 1:23-cv-00595-J PH-KMB,

The Honorable James P. Hanlon, Judge

Supplemental Declaration of Catherine Bast, MD

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Catherine Bast, being duly sworn, declares that:

di Iam a plaintiff in the above-captioned lawsuit and am a medical doctor
at and a co-founder of Mosaic Health and Healing Arts, Inc., which is also a
plaintiff.

B.. I currently treat approximately 70-80 transgender patients under the
age of 18.

Ox Since the Court’s order on Tuesday, February 27, 2024, I have been in
the process of canceling appointments with patients who were scheduled to see me
for treatment that is now prohibited under Indiana law. Beginning on Wednesday
morning, my staff and I began to cancel about 30 appointments, beginning with
those that were scheduled for last week.

4. The calls I made to patients were some of the most difficult
conversations I have ever had in my life. Every parent that I spoke with was in
tears. They expressed to me that their children were distraught, experiencing
anxiety, and some had not slept since the news of the Court’s order. One mother
conveyed to me that her son’s anxiety medication stopped working and there was no
way to calm his anxiety in light of the decision making his medical treatment in
Indiana illegal.

5. I felt that in every single phone call I was making, I was doing harm.

- Asa doctor, I took an oath to do no harm but now I feel like I am abandoning my
patients and taking them off their medication in ways that will lead to predictable

harms and without any ability to provide them with continuity of care. Not only do I
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believe that I am violating my ethical duties as a result of the Court’s order, but I
am certain that I am also violating federal law since the Affordable Care Act
prohibits me from discriminating based on sex and requires that I at least refer
patients to other providers when I myself cannot treat them.

6. In addition to the conversations that I had on the phone with families,
I received about 8-10 messages through the online patient portal from other
families. In these messages families asked specific questions about where they
should go for care and asked about treating physicians in places like Michigan
where gender-affirming medical treatment is not banned. These families were
panicked but because of the “aid and abet” provision in the Indiana ban on
treatment, all I could do was respond, “I am so sorry, but I cannot advise sre about
treatment.”

ae Keeping critical medical information from patients goes against
everything we learn as physicians. In medicine we work so hard to make
information accessible and to ensure that there is continuity of care among
providers.

8. In any other context, I would ensure that patients in this type of
position would be connected with competent care out of state. For example, if I had
a patient who was moving out of state and they had ongoing medical needs, I would
' work with them to identify and recommend providers out of state. I would explain
the different options and help them figure out a plan that worked best for them. I

would also ensure that they had a sufficient supply of medication to hold them over
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during the period of time that care was being transferred. Once the patient had
selected an out-of-state provider, I would then speak with that provider and send
over the medical records. This type of exchange of information is critical for patient
health.

9. Tam terrified about what will happen to my dozens of adolescent
patients with gender dysphoria who lost access to treatment overnight. No one
should abruptly terminate hormone treatment and I fear that my patients will
experience a range of mental health and physiological harms when they do not have
access to their treatment. It is not safe to abruptly terminate, nor is there a protocol
for abrupt termination of, hormone therapy. For each of my patients, I need to be
able to either ensure that they have continuity of care elsewhere or advise thiena on
how to titrate down on their current medication.

10. In addition to my patients receiving gender-affirming hormone therapy
or puberty suppression by injection, I have about 15 patients with an implant for
pubertal suppression. I need to ensure that these patients are able to connect with a
provider out of state with the skill and experience to treat them. Because of the
Court’s order, I have not been able to do that.

11. Ihave close to 40 transgender adolescent patients who receive
coverage for their medical treatment through Indiana Medicaid. These patients will
' not be able to receive care out of state through Medicaid as they are enrolled in
Indiana’s Medicaid program and not in the Medicaid program in any other state,

and I am not aware of any out-of-state provider that accepts Indiana Medicaid. I
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will therefore need to be able to advise these patients about titrating off of
treatment and monitor their hormone levels during this period. Because of the
Court’s order, I cannot do that.

12. In addition to the very serious mental health harms that will result
from cutting patients off from care, I am worried about the safety of many of my
patients who have never lived or been known as any gender other than the one
consistent with their gender identity. For these patients, the abrupt termination of
treatment could lead to physical changes that not only will be extremely distressing
but could also out them as transgender to the people in their lives who have no
knowledge of their transgender status. This could lead to discrimination,
harassment, and other threats to my patients’ safety.

13. Iam scared about the well-being of my patients. My heart breaks for
them and for their parents. I am worried about what will happen if I cannot provide
them with the appropriate advice, monitoring, and referrals. I have colleagues who
have lost patients to suicide when this care has been cut off. I want to do everything
in my power to treat the patients who I have cared for over many months and in
some cases years.

14.  Inorder to properly provide and oversee referrals for my patients or to
titrate their medication down safely, I would need at least 90 days. I would work
~ around the clock, filling in appointments wherever I could. I would do whatever it

takes to protect the health and safety of transgender adolescents here in Indiana.
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I swear under penalty of perjury that the foregoing is true and correct.

Date: 3)4-Joorg CMG Pr

CATHERING BAST, MD
